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 1   PAUL B. MELTZER
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 3   Santa Cruz, CA 95060
     (831)426-6000; FAX (831)426-2749
 4   Attorney for: OSCAR CAMPOS-PADILLA
 5
                           IN THE UNITED STATES DISTRICT COURT
 6                       FOR THE EASTERN DISTRICT OF CALIFORNIA

 7
       UNITED STATES OF AMERICA,                   )     Case Nos. CR-S-07-248 WBS
 8                                                 )
                     Plaintiff,                    )
                                                   )
 9           v.                                    )     STIPULATION AND ORDER
                                                   )
10     OSCAR CAMPOS-PADILLA,                       )
                                                   )
11                   Defendant.                    )
                                                   )
12

13          Defendant, OSCAR CAMPOS-PADILLA, by his counsel, Paul B. Meltzer, and

14   United States Attorney, Jason Hitt, stipulate and agree to the travel request by the defendant,

15   Oscar Campos-Padilla, as set forth in the attached order to travel to Las Vegas, NV.

16   Respectfully Submitted,

17   DATED: August 25, 2009                            By: ______________/S/__________________

18                                                           PAUL B. MELTZER; Attorney for
                                                             Defendant, OSCAR CAMPOS-PADILLA
19

20   DATED: August 25, 2009                            By:                   /S/

21                                                           JASON HITT; United States Attorney

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 1                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF CALIFORNIA
 2                                   SACRAMENTO DIVISION

     UNITED STATES OF AMERICA,                      )    Case Nos. CR-S-07-248 WBS -DAD
 3                                                  )
                   Plaintiff,                       )
 4                                                  )
           v.                                       )    ORDER
 5                                                  )
     OSCAR CAMPOS-PADILLA,                          )
 6                                                  )
                   Defendant.                       )
 7                                                  )

 8   GOOD CAUSE SHOWN,

 9         IT IS HEREBY ORDERED that Defendant Oscar Campos-Padilla is allowed to travel

10   to Las Vegas, NV on Thursday, October 8th, 2009 and returning Sunday, October 11th, 2009.

11   Prior to leaving the Defendant shall provide a detailed travel itinerary to U.S. Pre-Trial

12   Services Laura Weigel.

13   SO ORDERED.

14   Dated: August 31, 2009.

15                                               ______________________________________
                                                 DALE A. DROZD
16                                               UNITED STATES MAGISTRATE JUDGE

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     Ddad1/orders.criminal/campos-padilla0248.stipord
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